                    Case
                     Case9:22-cv-00297-DNH-CFH
                          9:22-cv-00297-DNH-CFH Document
                                                 Document48-8
                                                          57 Filed
                                                              Filed09/20/22
                                                                    09/15/22 Page
                                                                              Page11ofof32

  AO 440 (Rev. 06/12) Summons in a Civil Action


                                           UNITED STATES DISTRICT COURT
                                                                                for the
                                                             Northern District
                                                           __________ Districtof
                                                                               ofNew York
                                                                                 __________

                        MAKYYLA HOLLAND,                                             )
                                                                                     )
                                                                                     )
                                                                                     )
                                 Plaintiff(s)                                        )
                                                                                     )
                                     v.                                                   Civil Action No. 9:22-cv-00297-DNH-CFH
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                                Defendant(s)                                         )

                                                           SUMMONS IN A CIVIL ACTION

  To: (Defendant’s name and address) Michael McCafferty
                                                16 MONTAGUE ST APT MR97
                                                BINGHAMTON, NY 13901-1454




             A lawsuit has been filed against you.

           Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
  are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
  P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
  the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
  whose name and address are: Jeremy A. Benjamin (Bar Roll #: 516705)
                                                Paul, Weiss, Rifkind, Wharton & Garrison LLP
                                                1285 Avenue of the Americas
                                                New York, New York 10019
                                                (212) 373-3000


         If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
  You also must file your answer or motion with the court.



                                                                                            CLERK OF COURT


  Date:        September 15, 2022                                                                s/N. Steves
                                                                                                        Signature of Clerk or Deputy Clerk
                 Case
                  Case9:22-cv-00297-DNH-CFH
                       9:22-cv-00297-DNH-CFH Document
                                              Document48-8
                                                       57 Filed
                                                           Filed09/20/22
                                                                 09/15/22 Page
                                                                           Page22ofof32

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 9:22-cv-00297-DNH-CFH

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
Case 9:22-cv-00297-DNH-CFH Document 57 Filed 09/20/22 Page 3 of 3
